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                                IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF PUERTO RICO


                                                                      CIVIL NO: 17-1885
         INDUSTRIA LECHERA DE PUERTO
         RICO INC.,

                                    Plaintiff

                                        v.

         CARLOS FLORES, in his official
         Capacity as SECRETARY OF THE
         PUERTO RICO
         DEPARTMENT OF AGRICULTURE;
         MARIA DEL CARMEN MARTINEZ
         CAMPOS, in his official capacity as,
         INTERIM ADMINISTRATOR OF THE
         PUERTO RICO MILK INDUSTRY
         REGULATORY OFFICE

                                   Defendant



MOTION TO DIMISS AND/OR FOR SUMMARY JUDGMENT AGAINST INDULAC’S
                             CLAIMS 1

TO THE HONORABLE COURT:

          COMES NOW INTERESTED ENTITY, SUIZA DAIRY, CORPORATION

(“Suiza”) through its undersigned attorneys and very respectfully alleges and prays as follows:

    I.       INTRODUCTION

          This Honorable Court, guaranteeing a due process of law to Industria Lechera de Puerto

Rico, Inc. (“Indulac”) as an intervenor, rendered a Judgment four years ago (in case 04-1840)

that turns Indulac’s instant claims into frivolous litigation (“the Judgment”). That Judgment was

affirmed by the Court of Appeals for the First Circuit in Vaquería Tres Monjitas, Inc., v. Comas

1
 The instant motion should be considered as Suiza’s pleading in this case and it is submitted in accordance to Rule
24(c) of Civil Procedure.

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Pagán, 772 F.3d 956, 960 (1st Cir 2014), against an appeal by Indulac itself. Price Order 17-16

(“PO 17-16”), which is now being impeached by Indulac, is no surprise to said party. The same

was enacted in compliance and as a direct result of the Judgment.2                    The legality of the

Agreement that is contained in the Judgment was properly litigated by Indulac. What is more, its

content including the regulatory accrual is consistent with prior Price Orders that were issued by

ORIL starting in April of 2008, which had been partially obeyed by Indulac. This case is an

unfounded and meritless attempt to boycott the Judgment.                     Dismissal is in order and

enforcement of the Judgment must be made by this Honorable Court.

    II.      ARGUMENTS

                 A. STANDARD OF REVIEW

          Rule 12 (b)(6) states that a claim can be dismissed if Plaintiff: “fail[s] to state a claim

upon which relief can be granted”. This District Court has broadly discussed the scenario of a

motion to dismiss under Rule 12(b)(6). Specifically, it has stated that when evaluating a motion

to dismiss under said Rule its “role is to examine the complaint to determine whether plaintiff

has adduced sufficient facts to state a cognizable cause of action.” Rosario v. United States, 538

F. Supp. 2d 480, 487 (D.P.R. 2008).

          This District Court has ruled on the dynamics of a motion to dismiss under Rule 12

(b)(6). It has said that:

                 “To survive a Rule 12(b)(6) motion to dismiss, a complaint must
                 allege “a plausible entitlement to relief.” Bell Atlantic Corp. v.
                 Twombly, 550 U.S. 544, 559 (2007). However, a court should
                 “accept well-pled factual allegations in the complaint as true and
                 make all reasonable inferences in the plaintiff's favor.” Miss. Pub.
                 Emps.' Ret. Sys. v. Boston Scientific Corp., 523 F.3d 75, 85 (1st
                 Cir.2008). While a complaint need not contain detailed factual
                 allegations in order to withstand dismissal, a plaintiff's

2
  In fact, it was discussed during the contempt hearing held in case 08-2191 on March 22, 2017. Indulac is an
intervenor in that case.

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                “obligation to provide the grounds of his entitlement to relief
                requires more than labels and conclusions, and a formulaic
                recitation of the elements of a cause of action will not
                do.” Twombly,, 550 U.S. at 555 (internal citation omitted). The
                court need not accept as true legal conclusions or “ ‘naked
                assertions' devoid of ‘further factual enhancement.’ “ Ashcroft
                v. Iqbal,, 556 U.S. 662, 678 (2009) (quoting Twombly,, 550 U.S. at
                557) (internal alteration omitted); Maldonado v. Fontanes, 568
                F.3d 263, 267 (1st Cir.2009). The complaint must allege enough
                factual content to nudge a claim across the line from
                conceivable to plausible. Iqbal, 556 U.S. at 680.” US v. Molina,
                2014 WL 3747544 (D.P.R. 2014). (Emphasis added).

        As to the scope of the matters the court can review in order to decide a motion to dismiss,

the First Circuit has ruled that courts are not necessarily limited to the pleadings of a complaint.

Specifically, it has stated that:

                “Ordinarily, of course, any consideration of documents not
                attached to the complaint, or not expressly incorporated therein, is
                forbidden, unless the proceeding is properly converted into one for
                summary judgment under Rule 56. See Fed.R.Civ.P. 12(b)(6).
                However, courts have made narrow exceptions for documents
                the authenticity of which are not disputed by the parties; for
                official public records; for documents central to plaintiffs'
                claim; or for documents sufficiently referred to in the
                complaint. See, e.g., *4 Romani v. Shearson Lehman Hutton, 929
                F.2d 875, 879 n. 3 (1st Cir.1991) (considering offering documents
                submitted by defendants with motion to dismiss claim of securities
                fraud); Fudge v. Penthouse Int'l, Ltd., 840 F.2d 1012, 1014–15 (1st
                Cir.) (considering allegedly libelous article submitted by
                defendants with motion to dismiss), cert. denied, 488 U.S. 821,
                109 S.Ct. 65, 102 L.Ed.2d 42 (1988); Mack v. South Bay Beer
                Distrib., Inc., 798 F.2d 1279, 1282 (9th Cir.1986) (“[O]n a motion
                to dismiss a court may properly look beyond the complaint to
                matters of public record and doing so does not convert a Rule
                12(b)(6) motion to one for summary judgment.”); see also In re
                Wade, 969 F.2d 241, 249 & n. 12 (7th Cir.1992). (Emphasis ours)
                Watterson v. Page, 987 F.2d 1, 3–4 (1st Cir. 1993)

        The issue as to the consideration of documents which are not contained in the pleadings

per se when deciding on a motion to dismiss has been specifically discussed by federal courts.

In the case of Watterson, supra, the Court stated that:

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                “[T]he problem that arises when a court reviews statements extraneous to
                a complaint generally is the lack of notice to the plaintiff.... Where
                plaintiff has actual notice ... and has relied upon these documents in
                framing the complaint the necessity of translating a Rule
                12(b)(6) motion into one under Rule 56 is largely dissipated.”), cert.
                denied, 503 U.S. 960, 112 S.Ct. 1561, 118 L.Ed.2d 208 (1992); Berk v.
                Ascott Inv. Corp., 759 F.Supp. 245, 249 (E.D.Pa.1991) ( “[W]hen a
                plaintiff has admitted the authenticity of a document ..., a court may
                consider that document in ruling on a motion under Fed.R.Civ.P.
                12(b)(6).”). (Emphasis of ours) Id., at p. 4

        In this case Indulac’s pleadings, even considered as true, simply do not advance a valid

cause of action upon which relief can be granted. This conclusion arises from an evaluation of

our arguments in support of dismissal, as well as those raised by ORIL at Dkt. 14, based on

Indulac’s own pleadings. In addition to those, below we refer to the facts raised by ORIL in its

Motion to Dismiss (Dkt. 14) and further clarify some of those. We respectfully sustain that all

of these facts are related to the pleadings in this case and/or are sustained in public documents

and legal judgments as to which no authenticity issue can arise. Indulac is aware of all of these

documents, since they are part of the record of the instant case, case 04-1840 or 08-2191. The

latter are mentioned in Indulac’s pleadings as well.

        However, should this Honorable Court consider that this motion to dismiss should be

treated as a motion for summary judgment; dismissal of the complaint is in order as well. A party

is entitled to summary judgment when there is no genuine issue of material fact on the record

and that party is entitled to summary judgment as a matter of law. Murray v. Warren Pumps,

LLC, 821 F.3d 77, 83 (1st Cir. 2016); see Fed. R. Civ. P. 56(a). A genuine issue of material fact

exists “if it can be resolved in favor of either party, and a fact is material if it has the potential of

affecting the outcome of the case.” Xiaoyan Tang v. Citizens Bank, N.A., 821 F.3d 206, 215 (1st

Cir. 2016) (internal quotation marks omitted).




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        To defeat a properly supported motion for summary judgment, the non-moving party

must set forth facts showing that there is a genuine dispute for trial. Tropigas de P.R., Inc. v.

Certain Underwriters at Lloyd’s of London, 637 F.3d 53, 56 (1st Cir. 2011). In addition, when

“the nonmovant has the burden of proof on a critical issue and the evidence that she proffers in

opposition to summary judgment is so vague that she could not prevail at trial, the motion must

be granted.” Pérez v. Volvo Car Corp., 247 F.3d 303, 318 (1st Cir. 2001) (citations omitted).

Accordingly, the Court may “afford no evidentiary weight to the conclusory allegations, empty

rhetoric, unsupported speculation, or evidence which, in the aggregate, is less than significantly

probative.” Tropigas de P.R., Inc., supra, 56.

        The facts herein included lack any genuine controversy which might impede this

Honorable Court from dismissing this case by way of a summary judgment. In addition, they are

properly supported by admissible evidence.

                 B. THE FACTS3

    1. The June 2017 Price Order was issued on May 31, 2017 by the Administrator. Dkt. #1,

    Exhibit 1, p. 2, ¶IV-1.

    2. Indulac was notified of the June 2017 Price Order on May 31, 2017. Id., IV-2.

    3. The June 2017 Price Order increases the price of UHT milk to be paid at the consumer

    level from $1.92 to $1.95. Id., ¶IV-3, 6.

    4. The change in price would be effective on June 1, 2017. Id., ¶IV-4.




3
  Suiza herein relies on most of Oril’s facts (as included in pages 3-7 of Dkt. 14) with some clarifications. Indulac
has raised an argument as to the standard of review this Honorable Court should follow when evaluating Oril’s
Motion to Dimiss (Dkt. 21). Indulac states that, since the Motion to Dismiss contains facts that supposedly do not
relate to the pleadings, Oril’s motion should be considered as a summary judgment and that some of the facts are not
properly sustained in admissible evidence. We sustain that Oril’s motion complies with Rule 12(b)(6) and the case
law that applies to said Rule, but herein further clarify some facts.

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5. The June 2017 Price Order does not advise an adversely affected party of their right to

request judicial review or that such review could be filed in the Court of First Instance. Id.,

¶IV-5.

6. The June 2017 Price Order increased the price of UHT milk without holding public

hearings duly notified, without the appearance and recommendation of the Secretary of the

Department of Consumer Affairs and did not rely on a market study as required by Act 34.

Id., ¶IV-7.

7. Indulac sent a letter to the Administrator claiming that the June 2017 Price Order was

illegal and ultra vires. Id., ¶IV-8.

8. The District Court issued a Preliminary Injunction through which it ordered the

Administrator to, inter alia, “adopt a temporary mechanism that will allow [respondents] to

recover the new rate of return… for the year 2003…and up to the day when they begin to

recover said rate.” Vaqueria Tres Monjitas, Inc., v. Laboy, 2007 LEXIS 98950, p. 181. With

regards to such remedy, the court provided that “[t]he Administrator may so act through

regulatory accruals, special temporary rates of return or any other available mechanism of

[the Administrator’s] choosing.” See Dkt. 480 in case 04-1840 and Dkt. 11-1, at p. 16

wherein Indulac makes specific reference to the Preliminary Injunction in case 04-1840.

9. In compliance with the District Court’s order, the Administrator of ORIL promulgated a

Price Order dated April 17, 2008 (the April 2008 Price Order). The promulgation of the April

2008 Price Order followed the required processes under Puerto Rico law. The April 2008

Price Order provided for a regulatory accrual sur-charge over every quart of fluid milk sold

in Puerto Rico, and was imbedded in the price of the products sold to the consumer for




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    the purpose of compensating respondents for their lost revenues. See Dkt. 11-1 at p. 45-

    52.

    10. Defendants informed the District Court of the adoption of the April 2008 Price Order,

    which originally provided for the regulatory accrual sur-charge imbedded in the price of all

    fluid milk sold in Puerto Rico at the consumer level. See Dkt. 846 and Dkt. 850 in case 04-

    1840. Also, see Dkt. 11-1 at p. 45-54.

    11. The District Court in case 04-1840 provided the parties with an opportunity to challenge

    the April 2008 Price Order. See Dkt. 833 in case 04-1840. Six challenges were filed. See

    Dkts. 858 in case 04-1840 (PRDFA’s Challenge), Dkt. 859 in case 04-1840 (VTM’s

    Challenge), Dkt. 861 in case 04-1840 (Suiza’s Challenge), Dkt. 862 in case 04-1840

    (Indulac’s Challenge), Dkt. 863 in case 04-1840 (CUD’s Challenge) and Dkt. 865 in case

    04-1840 (Ganaderos Unidos’ Challenge). 4

    12. Indulac did not challenge the regulatory accrual sur-charge implemented via the

    April 2008 Price Order in case 04-1840. See Dkt. 862 in case 04-1840. 5

    13. The only challenge brought by Indulac to the April 2008 Price Order was against the

    “balancing plant credit,” which was challenged as having “the precise opposite of what the

    credit intends to achieve.” See Dkt. 862 in case 04-1840, p. 2. 6

    14. The District Court acknowledged on more than one occasion that the regulatory accrual

    sur-charge was an effort to comply with the preliminary injunction, and even the Court of

    Appeals noted that “[i]n compliance with the district court's injunctive order, ORIL adopted

    an administrative order which directed that 1.5 cents from the sale of each quart of milk be


4
  Also, see Dkt. 11-1 at p. 16-17 and note 8, in which reference is made to the April 2008 Price Order and its
Supplementary Memorandum.
5
  Refer to note 4.
6
  Refer to note 4.

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    earmarked for the purpose of complying with the regulatory accrual mechanism.” See
                                                                                    7
    Vaqueria Tres Monjitas v. Irizarry, 600 F. 3d 1, 2 (1st Cir. 2010).

    15. The regulatory accrual sur-charge continued in full force through the several Price Orders

    issued thereafter while the case was litigated. See Dkt. 1438-2 in case 04-1840; Dkt. 1814-

    1, p. 63-64 in case 04-1840 and Dkt. 1-4, p. 85-88.

    16. On October 29, 2013, Defendants, Secretary of Agriculture of Puerto Rico (the Secretary)

    and the Administrator, together with Plaintiffs, Suiza Dairy, Inc. (Suiza), and Vaquería Tres

    Monjitas, Inc. (VTM), executed the Settlement thereby “settl[ing] all matters pending in the

    [] action in the interest of justice. . .” See Dkt. 1-4, p. 43-97.

    17. The District Court approved the Settlement and incorporated its terms into an Order and

    Judgment. See Dkt. 2334 in case 04-1840 and Dkt. 11-1, p. 19 in which reference is made

    by Indulac to the Settlement Agreement.

    18. After the parties settled the case and prior to Judgment, the District Court afforded

    PRDFA and Indulac the opportunity to challenge the Settlement. Both intervenors filed

    motions challenging the Settlement. Indulac moved the District Court to alter and/or amend

    the Judgment. See Dkt. 2409 in case 04-1840. Thus, a second opportunity was afforded to

    Indulac to challenge the regulatory accrual sur-charge. Indulac then challenged the regulatory

    accrual and its payout. Id., p. 11 (“…ORIL pretends to shift a significant portion of the

    burden of the illegally agreed regulatory accrual amount to [Indulac].”). Clearly, Indulac

    understood the ramifications of the Settlement that would become a Judgment, particularly

    with regards to the application of the regulatory accrual sur-charge to all fluid milk. The

    District Court denied Indulac’s motion to alter or amend. An appeal was filed by Indulac, but


7
 Also, please note that Indulac’s pleadings make specific reference to case 04-1840 and 08-2191. Therefore,
matters related to those are considered as part of Indulac’s pleadings. See Dkt 11-1, p. 18, n. 8.

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dismissed by the Court of Appeals as untimely. Vaquería Tres Monjitas, Inc., v. Comas

Pagán, 772 F.3d at 960.

19. The Settlement contains a number of agreements related to the regulatory accrual. See

Dkt. 1-4, 45-47 ¶¶8, 9, 10, 11, 12, 13, and 14.

21. Pursuant to the Settlement, the regulatory accrual sur-charge “w[ould] be deferred”

between November 7, 2013 and December 31, 2016, and reinstated by January 1, 2017. Dkt.

1-4, p. 48, ¶13.

22. In the context of paragraph thirteen of the Settlement, the deferment referred to the act of

collecting the regulatory accrual sur-charge on all fluid milk for a period of time set forth in

the Settlement. . Dkt. 1-4, p. 48, ¶13.

23. The Settlement included a Price Order pre-dated November 7, 2013 (the November 2013

Price Order), which contained a regulatory accrual of 0.001 per quart over all fluid milk. See

Dkt. 1-4, p. 85-88.

24. The October 23, 2014 Price Order included a regulatory accrual of 0.001 per quart over

all fluid milk. See Exhibit 1, AO 2014-28.

25. By Price Order 2016-25 dated December 26, 2016 (the December 2016 Price Order), the

Administrator without the need for any administrative proceeding, informed all parties in the

milk industry of the scheduled increase of 3 cents over fresh milk effective January 1st, 2017,

which included the regulatory accrual surcharge at 3.1 cents per quart. See Dkt. 11-1, p. 42.

26. The 3 cents increase in the price of fresh and UHT milk was made extensive to UHT

milk through the now challenged June 2017 Price Order, which informed all participants in

the industry of the scheduled increase of 3 cents over fresh and UHT milk effective June 1 st,

2017, which included the regulatory accrual surcharge at 3.1 cents per quart. See Dkt. 11-1,



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   p. 29-33. The regulatory accrual was to increase automatically as of January 1st, 2017

   according to Price Order 2014-28. See Exhibit 1, AO 2014-28 and Dkt. 1-4, P. 87.

   28. The June 2017 Price Order only reestablished Indulac’s margin on UHT milk by

   increasing the price of UHT milk in 3 cents to offset the automatical adjustment of the

   regulatory accrual surcharge upon all fluid milk, which had been in place five years prior to a

   settlement of a federal claim and was differed for three years pursuant thereto. See Dkt. 11-1,

   p. 29-33.

               C. ARGUMENTS

                      1. The content and effect of Price Order 17-16 is no surprise to
                         Indulac. The same is a direct result of a Judgment in case 04-1840
                         in which Indulac was an Intervenor.

       After the Preliminary Injunction in Civil Case 04-1840, ORIL included a regulatory

accrual charge in the price of fresh and UHT milk. Indulac began to collect regulatory accrual in

April 2008, when ORIL set the regulatory accrual collection to $0.0125 per quart of fluid milk

       Indulac has partially obeyed the Price Orders and continued to collect the regulatory

accrual up through the Judgment, at which point it was collecting $0.015 per quart of fluid milk.

Indulac has partially obeyed because it has collected the regulatory accrual on behalf of Suiza

Dairy but it has not remitted the collected monies, which remain in Indulac's coffers. This has

been happening since April 2008. FEP, Inc. and other parties in the industry that trade, barter,

commercialize and sell UHT milk have also been collecting regulatory accrual on behalf of Suiza

and have not yet transferred the monies collected either.

       The price order issued by ORIL incorporating the stipulations of the Judgment raised the

regulatory accrual collection to $0.031 per quart of fluid milk, but the fresh milk plants accepted




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to defer $0.03 per quart of that collection until January 1, 2017 (Dkt. 1-4, p.46). The deferral

had an expiration date of December 31, 2016 (See Dkt. 1-4, p. 46 ¶13).

       From the time of the Judgment until December 31, 2016, Indulac, FEP Inc., distributors

and importers had been collecting $0.001 per quart of fluid milk for the regulatory accrual on

behalf of the fresh milk plants in compliance with the Judgment (although, as previously stated,

Suizas has not received those funds). On January 1, 2017, the deferral of $0.03 per quart ended,

and the regulatory accrual collection automatically increased to $0.031 per quart of all fluid milk.

This was made in compliance with the Judgment to cover the automatic adjustment in the

regulatory accrual and not to reduce the fresh milk plants' margin. On June 1, 2017, ORIL

issued a price order increasing the price of UHT milk by 3 cents per quart in compliance with the

Judgment to cover the automatic adjustment in the regulatory accrual and not to reduce Indulac's

margin.

       These matters were discussed during the compliance hearing held on March 22, 2017 in

the case of PRDFA v. Comas, 08-2191. A case in which Indulac is an Intervenor. Therein,

ORIL asked for two weeks to establish the regulatory accrual now being questioned by Indulac.

Specifically, the following was broadly discussed:

               “[Mr. Escalera:] Nothing of this is new to the Court. You know
               that the reasons for the difference between the price to the
               consumer of UHT and fresh milk, you know that first it was 1 cent,
               then it went up to 1.5, then it went up to $0.03 that were part of the
               regulatory accrual collected on all fluid milk. That all went off
               with the judgment. It said it will come up again in January of 2017.
               So we want it to come up again, and we want the money that has
               been collected for regulatory accrual that has not been paid to us.
               That's all we want. That's all we want.

               […]

               So all I want is what the judgment says. It says $0.03 for
               regulatory accrual beginning in January. It was increased to fresh

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               milk. It wasn't increased to UHT. I want it increased to UHT, and I
               want an accounting of how much of that money is actually owed
               because not one cent has been paid. That's it.

               THE COURT: January to January.

               MR. ESCALERA: No, no, no, not only January. Since the first
               cent that was collected back in 2011 before the judgment to 2017,
               there have been three different account -- three different numbers:
               1 cent, 1.5, and 3, in different periods. So we need an accounting
               what the period was for 1 cent, what the period was for 1.5, what
               the period was for 3. Whatever way we agree that it's going to be
               paid, it's an agreement. And I think the administrator has agreed to
               do that in a period of two weeks. And that's fine.”

       As previously stated, Indulac is very much aware of the above. It even argued during that

hearing, as this Honorable Judge might recall. But Indulac is not only aware, but in contempt of

the Judgment. Although it has collected the regulatory accrual in question, it has not made any

payments to Suiza related to that concept.

       By means of this case Indulac simply tries to deviate the legal and correct course of

actions taken by ORIL, while it ignores its legal obligations as part of the regulatory market in

which it conducts business. The relief sought by Indulac is based on frivolous averments and do

not constitute a valid claim subject to this Honorable Court’s consideration.         Furthermore,

enforcement of the Judgment should be ordered by this Honorable Court. Indulac has to pay all

the moneys it has collected related to the regulatory accrual as to which it has knowledge and has

collected moneys since 2008.

                      2. PO 17-16 complies with the Judgment. There is no legal basis for
                         Indulac’s arguments as to the need of a regulatory process prior to
                         the enactment of PO 17-16

       Indulac claims that the process contained in Law 34 and the Uniform Administrative

Proceedings Act (“LPAU”) for the establishment of a price order had to be followed prior to the

enactment of Price Order 17-16.        In support of that position, it cites case law that is

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distinguishable from the facts that pertain this case. None of the cases cited by Indulac in its

motion are related to a regulation that is issued in compliance with a federal Judgment affirmed

by the First Circuit against Indulac’s appeal, firm and final. Thus, they are irrelevant.

           In addition to the above, we should highlight the fact that a regulatory process was not

followed either when Price Order 16-25 was implemented. See Dkt. 11-1, p. 42 It was not

followed, because it is not needed. Nevertheless, Indulac never raised a similar issue then. 8

           What’s important in this case is that Price Order 17-16 was enacted based, literally, on

the content of a Judgment. Therein it is stated that: “[w]hen the new Oril Price Order, Exhibit 2,

enters into effect on November 7, 2013, 3 cents out of regulatory accrual charge to pay out the

principal as of 2028, will be deferred until January 1, 2017.” See Dkt. 1-4 P. 48.

           Based on the above, in order to enact and enforce PO 17-16 there is no need for a market

study for the determination of a price. There is no need for notice. There is no need for the

Department of Consumers Affairs to be present during a public hearing nor a report form said

agency with recommendations. There is no need for publication. There is no need to do any of

that, because what had already been decided in a final and firm Judgment is not subject to such

process. Simply put, the supremacy clause of the US Constitution displaces any territorial action

inconsistent with a federal mandate. See U.S.C.A. Const. Art. 6, cl. 2.

           As ORIL very well stated, the Administrator’s consistent position as to the price orders it

issues is that after the Judgment (which incorporated the Settlement Agreement) was entered, it

became the operative document of the agency. It cannot be any other way. ORIL has to follow a

Judgment which contained a consent decree. Otherwise it is incumbent upon the court to force

compliance. The contents of PO 2017-16 are faithful to the obligations which ORIL committed

by means of the consent decree and therefore, to the Judgment.
8
    As to this particular reality, we join ORIL’s latches argument, as included at Dkt. 14, p. 13-15.

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       This Honorable Court should enforce its Judgment, dismiss this case and order Indulac to

pay to Suiza all the moneys it owes which relate to the regulatory accrual that has been part of

ORIL’s Price Orders since 2008 (not less than $2.5 million of dollars). The Federal Court of

Appeals for the First Circuit has recognized that:

                       “[t]he entry of a consent decree does not “kill” a case or
                       terminate a district court's jurisdiction. Rather, when, as
                       now, an injunction entered pursuant to a consent decree has
                       ongoing effects, the issuing court retains authority to
                       enforce it. See, e.g., System Fed'n No. 91, Etc. v. Wright,
                       364 U.S. 642, 647, 81 S.Ct. 368, 371, 5 L.Ed.2d 349 (1961)
                       (explaining that structural injunctions “often require[ ]
                       continuing supervision by the issuing court and always a
                       continuing willingness to apply its powers and processes
                       on behalf of the party who obtained th[e] equitable
                       relief”). . . . This authority is part of a court's inherent
                       powers and exists regardless of whether a particular
                       consent decree expressly so provides.5 See Swift, 286 U.S.
                       at 114, 52 S.Ct. at 462; see also Fed.R.Civ.P. 60(b)(5)–(6).”
                       (Emphasis of ours) In re Pearson, 990 F.2d 653, 658 (1st
                       Cir. 1993)

       Indulac’s claims are nothing but a challenge to a final and firm Judgment issued by this

Honorable Court. Therefore, this Honorable Court should apply its powers to impede that

Indulac continues to ignore its rulings.

       In the case of In Re Pearson the Court ruled that: “[a] consent decree is not simply a

contract entered into between private parties seeking to effectuate parochial concerns. […] The

court stands behind the decree, ready to interpret and enforce its provisions.” (Emphasis of

ours) Id. The basis for the issuance of PO 17-16 is not in any way different from what was

contemplated at the time the Judgment was entered. Therefore, no further interpretation must be

given to the Judgment, rather its provisions should be enforced and this case dismissed. Indulac

has to obey a final and firm judgment. Indulac has to obey ORIL’s PO 2017-16 and has to pay

Suiza the regulatory accrual it has collected since 2008.

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   III.      CONCLUSION

   Indulac’s claims do not find support on its very own pleadings. PO 17-16 was enacted in

conformity with this Honorable Court’s final and firm Judgment. There is no need for any

further legal formality prior to the confirmation of the information contained in PO 17-16.

Indulac continues to try to re litigate a matter that has already been even confirmed by the First

Circuit Court. While acting this way, it continues to collect the regulatory accrual as to which it

has had knowledge since 2008 but does not pay Suiza the money collected in such way.

Dismissal is in order and enforcement of the Judgment imminent in order for Suiza to be able to

collect the moneys as to which it has a right.

          WHEREFORE, it is requested from this Honorable Court that Idulac’s complaint is

dismissed and enforcement of the Judgment as herein discussed immediately ordered.

          RESPECTFULLY SUBMITTED.

        I hereby certify that on this same date, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which will send notification of such filing to all attorneys
of the record.

          In San Juan, Puerto Rico, this July 24th, 2017.

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